                                                              United States Bankruptcy Court
                                                                     Northern District of California
 In re      Jinnie Jinhuei Chang Chao                                                                       Case No.
                                                                                   Debtor(s)                Chapter    11

                                                   STATEMENT PURSUANT TO RULE 2016(B)
The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.          The undersigned is the attorney for the debtor(s) in this case.

2.          The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
             a)      For legal services rendered or to be rendered in contemplation of and in                                Payment pursuant to
                     connection with this case                                                                               Application for Fees
                                                                                                                       $      and Court Approval
               b)            Prior to the filing of this statement, debtor(s) have paid                                $                18,107.00

               c)            The unpaid balance due and payable is                                                     $     To be Determined by
                                                                                                                                Court through an
                                                                                                                                 Application and
                                                                                                                            Approval by the Court

3.          $ 1,717.00            of the filing fee in this case has been paid.

4.          The Services rendered or to be rendered include the following:
            a.     Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
                   whether to file a petition under title 11 of the United States Code.
            b.     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the
                   court.
            c.     Representation of the debtor(s) at the meeting of creditors.

5.          The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation
            for services performed, and

6.          The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
            will be from earnings, wages and compensation for services performed, and

7.          The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
            for the value stated:

8.          The undersigned has not shared or agreed to share with any other entity, other than with members of
            undersigned's law firm, any compensation paid or to be paid except as follows:

 Dated: December 4, 2015                                                          Respectfully submitted,

                                                                                  /s/ Onyinye N. Anyama
                                                                                  Attorney for Debtor: Onyinye N. Anyama 262152
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